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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

UNITED STATES OF AMERICA,
                                                                         3:21-CR-010
                                                           CASE NO. ______

                        Plaintiff

                V.                                         lNFORMATION

STEVEN ISAACS,                                             18 u.s.c. § 641
                                                           18 u.s.c. § 1382
                           Defendant



THE UNITED STATES ATTORNEY CHARGES THAT:



                                              COUNT!

                                           (18 u.s.c. § 641)

        From exact dates unknown, but beginning on or about May 1, 2019 and continuing until on

or about February 15, 2020, in the Southern District of Ohio, the Defendant, STEVEN ISAACS, did

knowingly embezzle, steal, and purloin a thing of value of the United States, that is: prope1ty of the

United States Air Force.

        In violation of 18 U.S.C. § 641.


                                              COUNT2

                                           (18 U.S.C. § 641)

        On or about May l 0, 2020, in the Southern District of Ohio, the Defendant, STEVEN

ISAACS, did knowingly embezzle, steal, and purloin a thing of value of the United States, that is:

property of the United States Air Force.

        In violation of 18 U.S.C. § 641.
Case: 3:21-cr-00010-SLO Doc #: 1 Filed: 01/25/21 Page: 2 of 2 PAGEID #: 2
